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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO




 UNITED STATES OF AMERICA,                        Case No. 1:15-cr-00247-BLW

                      Plaintiff,
                                                  ORDER CONTINUING TRIAL
        v.                                        AND TRIAL READINESS
                                                  CONFERENCE
 HOLLY McCUISTON, et al.,

                      Defendants.


       The Court has before it Defendant McCuiston’s Motion to Continue Trial (Dkt.

29). Defendant states that counsel needs additional time to do investigation, review

discovery, and prepare for trial. Defendant requests an additional 60 days.

       Under all these circumstances, the Court finds that a continuance is needed to give

defense counsel an opportunity to provide an effective defense. Thus, a continuance is

warranted under 18 U.S.C. § 3161(h)(7)(B)(iv), which authorizes a finding of excludable

time when the refusal to grant a continuance would “deny counsel for the defendant . . .

the reasonable time necessary for effective preparation . . . .” Under these circumstances,

the interests of justice in allowing the defense time for effective preparation outweighs

the defendant’s and the public’s interest in a speedy trial under 18 U.S.C. §

3161(h)(7)(A). The statements of defense counsel establish that the trial should be reset

on August 8, 2016 at 1:30 p.m. at the United States Courthouse in Pocatello, Idaho. The

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Court finds that the period of time between the present trial date and the new trial date is

excludable time under the Speedy Trial Act.

       Co-defendants have not moved for a continuance. However, they have not

opposed the motion. Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(6), excludable

time exists for “a reasonable period of delay when the defendant is joined for trial with a

co-defendant as to whom the time for trial has not run and no motion for severance has

been granted.” No motion for severance has been filed. Accordingly, pursuant to 18

U.S.C. § 3161(h)(6), the Court finds that the excludable time found for the defendant

moving for a continuance also applies to the co-defendants. Thus, the co-defendants will

have trial moved to June 20, 2016 as well. Accordingly,

       NOW THEREFORE IT IS HEREBY ORDERED that the Motion to Continue

Trial (Dkt. 29) shall be, and the same is hereby GRANTED, and that the present trial date

be VACATED, and that a new trial be set for August 8, 2016 at 1:30 p.m. in the U.S.

Courthouse in Pocatello, Idaho.

       IT IS FURTHER ORDERED that the period of time between the prior trial date

and the new trial date be deemed EXCLUDABLE TIME under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6) and (7)(A) & (B).

       IT IS FURTHER ORDERED that the current trial readiness conference be

VACATED, and that a new trial readiness conference be conducted by telephone on July

28, 2016 at 4:00 p.m. The Government shall place the call to (208) 334-9145 with

opposing counsel on the line.

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      IT IS FURTHER ORDERED that all pretrial motions shall be filed on or before

July 11, 2016.



                                      DATED: June 14, 2016



                                      B. LYNN WINMILL
                                      Chief U.S. District Court Judge




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